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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


DONNA CURLING, et al.,                   :
                                         :
                                         :
        Plaintiffs,                      :
                                         :
v.                                       :         CIVIL ACTION NO.
                                         :         1:17-CV-2989-AT
BRIAN KEMP, et al.,                      :
                                         :
                                         :
        Defendants.                      :


                                     ORDER

        This matter is before the Court on miscellaneous matters regarding the

hearing held on September 12, 2018. Upon review, the Court determines as

follows:

        First, the Court ADMITS Plaintiffs’ Exhibit 7 as the Court has been advised

that the State Defendants have no authenticity objection to the exhibit.

        Second, the Court GRANTS the Curling Plaintiffs’ Motion for Excess Pages

for Post-Hearing Statement and Response to Declaration of Rebecca Sullivan [Doc.

300].    The Curling Plaintiffs may file a 17-page post-hearing statement and

response to the declaration of Rebecca Sullivan.

        Third, the Court GRANTS the Amici Curiae’s Motion for Leave to File

Declaration of Candice Hoke in Support of Plaintiffs’ Motions for Preliminary

Injunction [Doc. 304].
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IT IS SO ORDERED this 17th day of September, 2018.



                            _____________________________
                            Amy Totenberg
                            United States District Judge




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